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 Attorney or Party Name, Address, Telephone & FAX                       FOR COURT USE ONLY
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     Individual appearing without attorney
     Attorney for: Erika Girardi

                                     UNITED STATES BANKRUPTCY COURT
                       CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

In re:
GIRARDI KEESE
                                                                        CACB CASE NO.: 2:20-bk-21022-BR
                                                                        CHAPTER: 7
                                                                        CACD CASE NO.: 2:21-cv-06951-SVW
                                                                        ADVERSARY NO.:
                                                                        (if applicable)
                                                                        DATE NOTICE OF APPEAL FILED: 8/26/2021
                                                        Debtor(s).      DATE NOTICE OF CROSS APPEAL FILED:
                                                                        APPEAL DOCKET ENTRY NO.: 632




                                                        Plaintiff(s),
                                 vs.                                               NOTICE OF TRANSCRIPT(S)
                                                                                  DESIGNATED FOR AN APPEAL




                                                    Defendant(s).

Notice is given to the court and other parties in interest that the following action was taken:

      I do not intend to designate any portion of the transcript(s).

      I requested a copy of the transcript(s).
      1.    Hearing date (specify)                    and time (specify)                     of transcript requested.
            Date (specify)                   transcript was requested.

      2.    Hearing date (specify)                  and time (specify)                       of transcript requested.
            Date (specify)                  transcript was requested.
             This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
June 2016                                                               Page 1                               F 8004-1.1.NOTICE.TRANSCRIPT
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      3.    Hearing date (specify)                   and time (specify)                      of transcript requested.
            Date (specify)                   transcript was requested.

      4.    Hearing date (specify)                   and time (specify)                      of transcript requested.
            Date (specify)                   transcript was requested.

      5.    Hearing date (specify)                   and time (specify)                      of transcript requested.
            Date (specify)                   transcript was requested.


      I intend to designate the following transcript(s) previously docketed:
      1.    Hearing date (specify) 06/08/2021 of designated transcript.
            Docket entry number of designated transcript (specify) 422

      2.    Hearing date (specify)              of designated transcript.
            Docket entry number of designated transcript (specify)

      3.    Hearing date (specify)              of designated transcript.
            Docket entry number of designated transcript (specify)

      4.    Hearing date (specify)              of designated transcript.
            Docket entry number of designated transcript (specify)

      5.    Hearing date (specify)              of designated transcript.
            Docket entry number of designated transcript (specify)




Date: 9/8/2021                                                             GREENBERG GROSS LLP
                                                                           Printed name of law firm


                                                                           Signature

                                                                           Evan C. Borges
                                                                           Printed name

                                                                           Erika Girardi
                                                                           Attorney for (specify)


 Instructions
 This Notice cannot be used to order a transcript. To order a transcript, use the court approved Transcript Order Form on
 the court’s website at www.cacb.uscourts.gov/transcripts.

 This Notice must be served on opposing counsel and filed with the court within 14 days of the filing of the Notice of Appeal.




             This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
June 2016                                                               Page 2                               F 8004-1.1.NOTICE.TRANSCRIPT
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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 650 Town Center Drive, Suite 1700, Costa Mesa, CA 92626


A true and correct copy of the foregoing document entitled: NOTICE OF TRANSCRIPT(S) DESIGNATED FOR AN APPEAL
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
09/08/2021 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                     Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 9/08/2021      , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                     Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 09/08/2021 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                     Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

09/08/2021                  Cheryl Winsten
 Date                       Printed Name                                                 Signature

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June 2016                                                               Page 3                               F 8004-1.1.NOTICE.TRANSCRIPT
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  1                                    In re GIRARDI KEESE
                                    CACB Case No. 2:20-bk-21022-BR
  2                                CACD Case No. 2:21-cv-06951-SVW
  3 1.        TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING:
  4 The following is the list of parties who are currently on the list to receive email notice/service for
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